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                    IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE:                                  :     CHAPTER 13
 Kimberly M. Setlowe
                   DEBTOR               :     BKY. NO. 19-13434MDC13




                             CERTIFICATION OF SERVICE



      I, MICHAEL A. CATALDO, ESQUIRE, attorney for Debtor, do hereby certify
that all creditors, trustee and any interested parties including those filing proofs of
claims were served by Electronic Means and/or First Class Mail, a copy of the
corrected FIRST AMENDED PLAN.




Dated: December 9, 2019                 ____________/s/___________
                                        MICHAEL A. CATALDO
                                        Cibik & Cataldo, P.C.
                                        1500 Walnut Street, Ste. 900
                                        Philadelphia, PA 19102
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